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 UNITED STATES DISTRICT COURT                                    EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                            §
                                                     §
 versus                                              §    CRIMINAL ACTION NO. 4:09cr70
                                                     §
 PHILLIP ROBINETTE (10)                              §

                   MEMORANDUM ADOPTING REPORT AND
           RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE
           Came on for consideration the report of the United States Magistrate Judge in this action, this

 matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.

 §636. On June 2, 2010, the report of the Magistrate Judge was entered containing proposed

 findings of fact and recommendations that Defendant's Motion to Withdraw Guilty Plea should be

 denied.

           Having received the report of the United States Magistrate Judge, and no objections thereto

 having been timely filed, this Court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and conclusions

 of the Court. It is accordingly
           .
           ORDERED   that Defendant's Motion to Withdraw Guilty Plea (Dkt. #336) is DENIED.
           SIGNED at Beaumont, Texas, this 7th day of September, 2004.
           SIGNED at Beaumont, Texas, this 16th day of June, 2010.




                                               ________________________________________
                                                           MARCIA A. CRONE
                                                    UNITED STATES DISTRICT JUDGE
